Case 2:19-cv-01501-KJD-EJY Document5 Filed 10/04/19 Page 1 of 10

 

 

 

 

 

 

 

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Lamont Jefferies counselpaniiee wet Dow
2741 Carolina Blue Ave B RECORD
Henderson, NV 89052
702-403-7115 OCT -4 2019
CLERK US DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT | py —_-DISTRICT OF NEVADA
FOR THE DISTRICT OF NEVADA DEPUTY
LAMONT JEFFERIES, ) Case No. 2:19-cv-01501-KJD-EJY
Plaintiff, )
)
vs. ) Amended Complaint
)
)
)
Defendant. )
)
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)

 

I interviewed to work for ConexWest because it was an job the most of the work was online with
the CRM. Plus I had to make phone calls. It really was a tele-commute job. During my
interview with the VP of Sales, I informed him of my disability as I do every employer, and his
reply was, “that’s okay, you’re my guy. Thank you for your service”. The VP of sales knew
about the day off for the treatment and hired me later that day. After I went to training, got my
desk, and online login codes I went home from training. The next time I was supposed to go to
work was a Wednesday which is the day of the treatment. I sent a text to remind the VP that I
would not be in. After several text messages he replied that he needs to schedule this long term.
The next day I received an text message from the VP that I was fired because I could not come
into the office five days a week. The job ad did not have anything about coming into the office
five days a week. The. VP during the interview also never said anything. So for them to fire me
because I need the treatment for my disability was not fair. It made me very upset and hurt me
and gave me financial worries because there was no job for me to help my family. I took my
case to the EEOC and they setup a mediation, ConexWest didn’t show and decided to call in
from Europe. Also the person on the call couldn’t make any decisions for the ConexWest.

They didn’t take it seriously. A lawyer for ConexWest submitted a letter to EEOC stating that I
lied and never told the VP of Sales about my disability and that’s how I got the job. That was a
lie, because I have a text message from the VP of Sales stating that we was wrong and he should
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I’m seeking financial relief in the amount of $600,000.00 from ConexWest for Wrongful
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Henderson, NV 89052 |
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Case 2:19-cv-01501-KJD-EJY Document5 Filed 10/04/19 Page 3 of 10

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Case 2:19-cv-01501-KJD-EJY Document5 Filed 10/04/19 Page 4 of 10

Lamont Jefferies

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Henderson, NV 89052
702-403-7115

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FOR THE DISTRICT OF NEVADA

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Case 2:19-cv-01501-KJD-EJY Document5 Filed 10/04/19 Page 5 of 10

The Law Office of Andrew S. Cantor
4132 3 St., Ste #7, San Francisco, CA 94124
phone: 415.817.1708; email:asc@cantor-law.com

 

US Equal Employment Opportunity Commission April 1, 2019

Re: Statement of Position
Charge: 487-2018-01735
In Re: Lamont Jeffries

To Whom It May Concern:

Conexwest is in the business of the sales and rentals of shipping and storage
containers. There are no official procedures or polices — the company does not have an
employee handbook.

1) When Lamont Jeffries was hired on or about July 20, 2018, he failed to disclose his
need for medical accommodations that would prevent him from coming into the Office 5-
days a week;

2) A requirement for Sales Executives at Conexwest is that they come into the office 5-
days a week;

3) All current and previous Sales Executives at Conexwest are/were in the office 5-days a
week;

4) There was no way for Jeffries to adequately do his job if he was not at the Office for 5-
days a week;

5) As soon as it was discovered that Jeffries would not be able to come into the Office as
required, he was immediately discharged — this was approximately four days after he was
hired. Mr. Jeffries was hired and discharged by Ruben Corona, VP of Sales for
Conexwest;

6) No other Sales Executives have (or have had) the ability to work full-time and not be in
the Office 5-days a week.

Please feel free to contact my office should you need any further information or
clarification. I may be reached at 415-500-5849.

Andwuw S. Cantor

Andrew S. Cantor
Attorney for Conexwest
Case 2:19-cv-OL QOL ID: JY Document 5 Filed 10/04/19 Page 6 of 10

EEOC Form 161 (11/16) QUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NoTICE OF RIGHTS

 

To: Lamont Jefferies From: Los Angeles District Office
2741 Carolina Blue Ave 255 E. Temple St. 4th Floor
Henderson, NV 89052 Los Angeles, CA 90012
cE] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Lina G. Williams,
487-2018-01735 Investigator (213) 894-1436

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

Other (briefly state)

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- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form. )

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or State court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years
before you file suit may not be collectible.

 

On behalf of the Commissi

a F-29714

 

 

Enclosures(s) Rosa M. Viramontes, (Date Mailed)
District Director
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VP of Human Resources
CONEXWEST

801 Avenue H
San Francisco, CA 94103
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Form 161 (11/16)
INFORMATION RELATED TO FILING SUIT
UNDER THE LAWs ENFORCED BY THE EEOC
(This information relates to filing suit in Federal or State court under Federal law.
if you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below. )
Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),

the Genetic Information Nondiscrimination Act (GINA), or the Age

PRIVATE SUIT RIGHTS
, - Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any maiter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 ~ in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vil, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

 

ATTORNEY REPRESENTATION -- Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE ~All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

 

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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Case 2:19-cv-01501-KJD-EJY Document5 Filed 10/04/19 Page 9 of 10

DEPARTMENT OF VETERANS AFFAIRS
810 Vermont Ave NW
Washington, D.C. 20420

 

October 04, 2019

3741 Carolina | Bue. feries in Reply Refer to:

Ave XXX-XXx-5148
27/eBenefits

Henderson, NV 89052

Dear Mr. Jefferies:

This letter is a summary of benefits you currently receive from the Department of Veterans Affairs (VA). We are
providing this letter to disabled Veterans to use in applying for benefits such as state or local property or vehicle tax
relief, civil service preference, to obtain housing entitlements, free or reduced state park annual memberships, or
any other program or entitlement in which verification of VA benefits is required. Please safeguard this important
document. This letter is considered an official record of your. VA entitlement.

Our records contain the following information:

Personal Claim Information
Your VA claim number is: xxx-xx-5148
You are the Veteran.

Military Information
Your most recent, verified periods of service (up to three) include:

Branch of Service Character.of Service |. Entered Active Duty Released/Discharged
Marine Corps Honorable. _” February 19, 1991 ‘November 14, 1994

(There may be additional periods of service not listed above.)

VA Benefit Information .
You have one or more service-connected disabilitles: Yes
Your combined service-connected evaluation Is: 100%

You are considered to be totally and permanently disabled due solely to your
service-connected disabilities:

The effective date of when you became totally and. permanently disabled due to
your service-connected disabilities:

Yes

January 18, 1997

You should contact your state or local office of Veterans’ affairs for information on any tax, license, or fee-related
benefits for which you may be eligible. State offices of Veterans’ affairs are available at

htto:/Avww. va. gov/statedva.htm.

How You Can Contact Us

* If you need general information about benefits and eligibility, please visit us at hitos:/Avww.ebenefits. va.gov or
http: /Awww.va.gov.

* Call us at 1-800-827-1000. If you use a Telecommunications Device for the Deaf (TDD), the number is 1-800-
829-4833.
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* Ask a question on the Internet at https://iris.custhelp.va.gov.

Sincerely,

Duane A. Honeycutt
Acting Executive Director
Benefits Assistance Service

 
